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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-03155-NRN

PAUL GANGEMI,

       Plaintiff,

v.

AMF BOWLING CENTERS, INC. d/b/a BOWLERO CHERRY CREEK,

       Defendant.


                                    FINAL JUDGMENT


               In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

       Pursuant to the order entered by Magistrate Judge N. Reid Neureiter on May 3,

2024, ECF [#90] it is

       ORDERED that this case is dismissed pursuant to Federal Rule

of Civil Procedure 41(b) for plaintiff’s failure to prosecute and to obey orders of the

Court. It is

       FURTHER ORDERED that final judgment is hereby entered in favor of

Defendant AMF Bowling Centers, Inc. d/b/a/ Bowlero Cherry Creek, and against Plaintiff

Paul Gangemi. It is

       FURTHER ORDERED that plaintiff’s Complaint and this civil action are

DISMISSED. It is
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      FURTHER ORDERED that costs shall be taxed by the clerk of the court in the

time and manner prescribed by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.



      Dated at Denver, Colorado this 3rd day of May 2024.



                                       FOR THE COURT:
                                       JEFFREY P. COLWELL, CLERK

                                       By: s/ Román Villa
                                           Román Villa, Deputy Clerk




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